Case 1:07-cv-00241-L-LDA   Document 37-6   Filed 11/02/2007   Page 1 of 31
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print                 http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA                  Document 37-6                    Filed 11/02/2007                                        Page 2 of 31

                                                                                                                                                                           Questions?
                                                                                                                                                                           Privacy
                                                                                                                                                                           Site Index
                                                                                                                                                                           Contact Us


                        Home   |   Services   |   Working with ACF   |   Policy/Planning   |    About ACF                     |          ACF News                             Search




                                                                                                                                                                           Advanced
                                                                                                       Enter Search term hereGo Button   Enter Search Term Here   Search
                                                                                                                                                                           Search

              Home > Laws & Policies > Policy/Program Issuances > Program Instructions > PI-07-02 > Attachment B – Title IV-E State
              Plan Pre-Print



                                                                                                                                                                  Attachment B



                                                                                                                                          OMB Approval No. 0980-0141
                                                                                                                                           Expiration Date: 11/30/2008


                          STATE PLAN FOR TITLE IV-E OF THE SOCIAL SECURITY ACT
                                 FOSTER CARE AND ADOPTION ASSISTANCE
                                  STATE OF ________________________

           U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
           ADMINISTRATION FOR CHILDREN AND FAMILIES
           CHILDREN'S BUREAU
           January 2007

           SECTION
           SECTION 1. ORGANIZATION
             A.   DESIGNATION AND AUTHORITY OF STATE AGENCY
             B.   STATE AGENCY STRUCTURE AND FUNCTION
             C.   STATEWIDE OPERATIONS
             D.   COORDINATION WITH TITLES IV-A AND IV-B PROGRAMS
             E.   CHILD SUPPORT ENFORCEMENT FOR CERTAIN CHILDREN IN FOSTER CARE
           SECTION 2. FOSTER CARE MAINTENANCE PAYMENTS

             A.   ELIGIBILITY
             B.   VOLUNTARY PLACEMENTS (STATE OPTION)
             C.   PAYMENTS
             D.   CASE REVIEW SYSTEM
             E.   MEDICAL AND SOCIAL SERVICES
             F.   SPECIFIC GOALS IN STATE LAW
             G.   PREVENTIVE AND REUNIFICATION SERVICES
             H.   TERMINATION OF PARENTAL RIGHTS
             I.   DATE CHILD CONSIDERED TO HAVE ENTERED FOSTER CARE
             J.   DOCUMENTATION OF JUDICIAL DETERMINATIONS.
             K.   TRIAL HOME VISITS
             L.   TRAINING
           SECTION 3. ADOPTION ASSISTANCE PAYMENTS

             A.   ELIGIBILITY
             B.   PAYMENTS - AMOUNTS AND CONDITIONS
             C.   ADOPTION ASSISTANCE AGREEMENT
             D.   MEDICAID AND SOCIAL SERVICES
             E.   ELIGIBILITY FOR ADOPTION INCENTIVE FUNDING



1 of 30                                                                                                                                                                    11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print   http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6      Filed 11/02/2007         Page 3 of 31
           SECTION 4. GENERAL PROGRAM REQUIREMENTS
             A.   STANDARDS FOR FOSTER FAMILY HOMES AND CHILD CARE INSTITUTIONS
             B.   REVIEW OF PAYMENTS AND LICENSING STANDARDS
             C.   FAIR HEARINGS
             D.   INDEPENDENT AUDIT
             E.   CHILD ABUSE AND NEGLECT
             F.   TIMELY INTERSTATE PLACEMENT OF CHILDREN
             G.   REMOVAL OF BARRIERS TO INTERETHNIC ADOPTION
             H.   KINSHIP CARE
             I.   SAFETY REQUIREMENTS
             J.   INTERJURISDICTIONAL ADOPTIONS
             K.   QUALITY STANDARDS
           SECTION 5. GENERAL PROVISIONS

             A.   PERSONNEL ADMINISTRATION
             B.   SAFEGUARDING INFORMATION
             C.   REPORTING
             D.   MONITORING
             E.   APPLICABILITY OF DEPARTMENT-WIDE REGULATIONS
             F.   AVAILABILITY OF STATE PLANS
             G.   OPPORTUNITY FOR PUBLIC INSPECTION OF REVIEW REPORTS AND MATERIALS
           ATTACHMENT I: STATE AGENCY CERTIFICATION

           ATTACHMENT II: GOVERNOR'S CERTIFICATION
           ATTACHMENT III: ASSURANCE


                                                                                                                    back to top




                          STATE PLAN FOR TITLE IV-E OF THE SOCIAL SECURITY ACT

                  FEDERAL PAYMENTS FOR FOSTER CARE AND ADOPTION ASSISTANCE

                                        STATE OF ________________________

               As a condition of the receipt of Federal funds under Title IV-E of the Social Security Act
               (hereinafter, the Act), the

                        __________________________________________________________________
                                               (Name of State Agency)

               (hereinafter "the State Agency") submits herewith a State plan for the program to provide, in
               appropriate cases, foster care and adoption assistance under Title IV-E of the Act and hereby
               agrees to administer the program in accordance with the provisions of this State plan, Title IV-E
               of the Act, and all applicable Federal regulations and other official issuances of the Department.

               The official text of said laws, regulations and official issuances governs, and the State Agency
               acknowledges its responsibility to adhere to them regardless of the fact that, for purposes of
               simplicity, the specific provisions printed herein are sometimes paraphrases of, or excerpts and
               incomplete quotations from, the full text. Statutory citations refer to provisions in Title IV-E of
               the Social Security Act. Regulatory citations refer to provisions in 45 CFR Parts 1355 and 1356.

               The State Agency understands that if and when Title IV-E is amended or regulations are revised,
               a new or amended State plan for Title IV-E that conforms to the revisions must be submitted.

               The State Agency certifies the following:




2 of 30                                                                                                                11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print       http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6          Filed 11/02/2007         Page 4 of 31
                                                                                                                        back to top



                 Federal                                                                                 State Regulatory,
               Regulatory/                                                                                Statutory, and
                Statutory                                   Requirement                                  Policy References
                                                                                                         and Citations for
               References1                                                                                      Each
                                                   SECTION 1. ORGANIZATION

            471(a)(2)             A. DESIGNATION AND AUTHORITY OF STATE AGENCY

                                  The State agency has been designated to administer or
                                  supervise the administration of the program under this
                                  plan. (See Attachment I.) It is also the agency that
                                  administers or supervises the administration of the State
                                  Child Welfare Services Plan under subpart 1 of Title IV-B of
                                  the Act.

                                  B. STATE AGENCY STRUCTURE AND FUNCTION

                                  The State agency has available upon request an
                                  organizational chart of the State agency and a description
                                  of the functions of each of its organizational units as they
                                  relate to the administration or supervising the
                                  administration of the Title IV-E foster care maintenance,
                                  independent living (at State option) and adoption assistance
                                  payments program.

            471(a)(3)             C. STATEWIDE OPERATIONS

                                  The Title IV-E plan for foster care and adoption assistance
                                  payments is in effect in all political subdivisions
                                  administering it.

            471(a)(4)             D. COORDINATION WITH TITLES IV-A AND IV-B
                                  PROGRAMS
                                  The Title IV-E program is coordinated at the local level with
                                  the programs at the State or local level assisted under
                                  Titles IV-A, IV-B and XX of the Act and under all
                                  appropriate provisions of Federal law.

            471(a)(17)            E. CHILD SUPPORT ENFORCEMENT FOR CERTAIN CHILDREN
                                  IN FOSTER CARE

                                  The State agency takes all appropriate steps, including
                                  cooperative efforts with the State agencies administering
                                  the plans approved under Titles IV-A and -D, to secure an
                                  assignment to the State of any rights to support on behalf
                                  of each child receiving foster care maintenance payments
                                  under Title IV-E.


                                                                                                                        back to top



                   Federal                                                                                         State
                 Regulatory/                                       Requirement                                  Regulatory,
                  Statutory                                                                                      Statutory,




3 of 30                                                                                                                    11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007         Page 5 of 31

                                                                                                              and Policy
                                                                                                              References
                  References
                                                                                                             and Citations
                                                                                                               for Each
                                         SECTION 2. FOSTER CARE MAINTENANCE PAYMENTS

            471(a)(1)                  A. ELIGIBILITY
                                          1. Payments are provided for each child:

            472(a)(1)&(2)              a. who meets the requirements of section 406(a) of the Act
                                       (as in effect 7/16/96) is removed from the home of a relative
                                       specified in section 406(a), and is placed in foster care if:

                                          1. the removal and foster care placement met and
                                             continues to meet the requirements of paragraph (2) in
                                             section 472(a) of the Act; and

                                          2. the child, while in the home, would have met the AFDC
                                             eligibility requirement of paragraph (3) in section
                                             472(a) of the Act.

            471(a)(2)(A)               b. whose removal and foster care placement are in
                                       accordance with:
            1356.21(c)
                                          1. a voluntary placement agreement entered into by the
                                             child's parent of legal guardian, who is the relative
                                             referred to in paragraph (1) of section 472(a) of the
                                             Act; or

                                          2. a judicial determination to the effect that continuation
                                             of residence in the home from which removed would be
                                             contrary to the welfare, or that the placment would be
                                             in the best interest, of the child and that reasonable
                                             efforts of the type described in section 471(a)(15) for a
                                             child were made. The contrary to the welfare
                                             determination will be made in the first court ruling that
                                             sanctions (even temporarily) the removal of a child
                                             from home. If the determination regarding contrary to
                                             the welfare is not made in the first court ruling
                                             pertaining to removal from the home, the child will not
                                             be eligible for Title IV-E foster care maintenance
                                             payments for the duration of that stay in foster care.

            472(a)(2)(B)&(C)           c. whose placement and care in a foster family home or child
                                       care institution (as defined in section 472(c) of the Act) is the
            472(a)(2)(B)(i)            responsibility of either;
            472(a)(2)(B)(ii)
                                          1. the State agency administering the approved State Title
                                             IV-E plan, or

                                          2. any other public agency with whom the State agency
                                             administering or supervising the administration of the
                                             approved State Title IV-E plan has made an
                                             agreeement which is still in effect, and

            472(a)(3)(A)(i)            d. who:

                                          1. received AFDC, in the home referred to in section
            472(a)(3)(A)(ii)(I)              472(a)(1), under the State plan approved under section
                                             402 of the Act (as in effect 7/16/96) in or for the month



4 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007         Page 6 of 31

                                             in which either a voluntary placement agreement was
                                             entered into or court proceedings leading to the judicial
            472(a)(3)(A)(ii)(II)             determination, referred to in section 472(a)(2)(A) of
                                             the Act, were initiated, or

            472(a)(3)(B)                  2. would have received AFDC, in the home, in or for such
                                             month referred to in the above clause if application for
                                             such aid had been made, or

                                          3. had been living with a relative specified in section
                                             406(a) of the Act (as in effect 7/16/96) within six
                                             months prior to the month in which a voluntary
                                             placement agreement was entered into or court
                                             proceedings leading to the judicial determination,
                                             referred to in section 472(a)(2)(A) of the Act, were
                                             initiated, and would have received AFDC in or for such
                                             month if the child had been living in the home with
                                             such relative and an application had been made for
                                             AFDC under Title IV-A of the Act.

                                          4. had resources (determined under section 402(a)(7)(B)
                                             of the Act as in effect 7/16/96) that had a combined
                                             value of not more than $10,000.

            472(a)(4)                  2. In any case where the child is an alien disqualified under
                                       sections 245A(h) or 210(f) of the Immigration and Nationaity
                                       Act from receiving aid under the approved Title IV-A State
                                       plan in or for the month in which the voluntary placement
                                       agreement, described in section 472(a)(2)(i), was entered
                                       into or court proceedings leading to the judicial
                                       determination, referred to in section 472(a)(2)(A)(ii), were
                                       instituted, the child shall be considered to satisfy the
                                       requirements of section 472(a)(3) with respect to that
                                       month, if the child would have satisfied such requirements
                                       but for the disqualification.

            1356.21(k)                 2. Removal.
                                          a. For the purposes of meeting the requirements of section
                                          472(a)(2)(A)(1) of the Act, a removal from the home must
                                          occur pursuant to:

                                       1. a voluntary placement agreement entered into by a parent
                                          or relative which leads to a physical or constructive
                                          removal (i.e., a non-physical or paper removal of custody)
                                          of the child from the home; or
                                       2. a judicial order for a physical or constructive removal of
                                          the child from a parent or specified relative.

            1356.21(k)                    b. A removal has not occurred in situations where legal
                                          custody is removed from the parent or relative and the
                                          child remains with the same relative in that home under
                                          supervision by the State agency.

            1356.21(k)                    c. A child is considered constructively removed on the date
                                          of the first judicial order removing custody, even
                                          temporarily, from the appropriate specified relative or the
                                          date that the voluntary placement agreement is signed by
                                          all relevant parties.




5 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                     Case 1:07-cv-00241-L-LDA            Document 37-6        Filed 11/02/2007         Page 7 of 31

            1356.21(1)
                                          3. Living with a specified relative. For purposes of meeting
                                             the requirements for living with a specified relative
                                             prior to removal from the home under section
                                             472(a)(2)(A) of the Act and all of the conditions under
                                             section 472(a)(3)(A), one of the two following
                                             situations will apply:

            1356.21(1)                    a. the child was living with the parent or specified relative,
                                          and was AFDC eligible in that home in the month of the
                                          voluntary placement agreement or initiation of court
                                          proceedings; or

            1356.21(1)                    b. the child had been living with the parent or specified
                                          relative within six months of the month of the voluntary
                                          placement agreement or the initiation of court
                                          proceedings, and the child would have been AFDC eligible
                                          in that month if s/he had still been living in that home.

            472(f)                     B. VOLUNTARY PLACEMENTS (State Option)

                                          1. Foster care maintenance payments are made in the
                                          voluntary placment of a minor child out of the home by or
                                          with the participation of the State agency only if:

            1356.22(a)                    a. the State has fulfilled all of the requirements of section
            472(d)                        472 of the Act, as amended; sections 422(b)(10) and
                                          475(5) of the Act; and 45 CFR 1356.21(f),(g),(h) and (i)
                                          of the Act, and

            472(f)(1)                     b. the assistance of the State agency has been requested
                                          by the child's parent(s) or legal guardian(s), and

            472(f)(2)                     c. there is a written voluntary placement agreement,
                                          binding on all parties to the agreement, which specifies at
                                          a minimum the legal status of the child and the rights and
                                          obligations of the parents or guardians, the child and the
                                          State agency while the child is in placement.

            1356.22(b)
                                          2. Federal financial participation is claimed only for
            472(e)
                                             voluntary foster care maintenance expenditures made
                                             within the first 180 days of the child's placement in
                                             foster care unless there has been a judicial
                                             determination by a court of competent jurisdiction,
                                             within the first 180 days of the date of such placement,
                                             to the effect that the continued voluntary placement is
                                             in the best interests of the child.

            1356.22(c)
                                          3. The State agency has established a uniform procedure
            472(g)(1)&(2)
                                             or system, consistent with State law, for revocation by
                                             the parent(s) of a voluntary placement agreement and
                                             return of the child.

            1355.20(a)                 C. PAYMENTS
            475(4)(A)
                                          1. Foster care maintenance payments for a child in foster
                                             care may cover the cost of (and the cost of providing)
                                             food, clothing, shelter, daily supervision, school



6 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007         Page 8 of 31

                                             supplies, a child's personal incidentals, liability
                                             insurance with respect to the child, and reasonable
                                             travel to the child's home for visitation with family, or
                                             other caretakers. Local travel associated with providing
                                             the items listed above is also an allowable expense. In
                                             the case of child care institutions, such term must
                                             include the reasonable costs of administration and
                                             operation of such institutions as are necessarily
                                             required to provide the items described in the preceding
                                             sentences.

            472(b)(1)&(2)
                                          2. Foster care maintenance payments are made only on
                                             behalf of an eligible child who is:
                                                a. in the foster family home of an individual,
                                                   whether the payments are made to such
                                                   individual or to a public or private child placement
                                                   or child care agency; or
                                                b. in a child care institution, whether the payments
                                                   are made to such institution or to a public or
                                                   private child placement or child-care agency. Such
                                                   payments are limited to include only those items
                                                   that are included in the term "foster care
                                                   maintenance payments" (defined in section
                                                   475(4) of the Act).

            1355.20(a)
                                          3. Foster family home means, for the purpose of Title IV-E
            472(c)(1)
                                             eligibility, the home of an individual or family licensed
                                             or approved as meeting the standards established by
                                             the State licensing or approval authority(ies) (or with
                                             respect to foster family homes on or near Indian
                                             reservations, by the tribal licensing or approval
                                             authority(ies)), that provides 24-hour out-of-home care
                                             for children. The term may include group homes,
                                             agency-operated boarding homes or other facilities
                                             licensed or approved for the purpose of providing foster
                                             care by the State agency responsible for approval or
                                             licensing of such facilities. Foster family homes that are
                                             approved must be held to the same standards as foster
                                             family homes that are licensed. Anything less than full
                                             licensure or approval is insufficient for meeting Title
                                             IV-E eligibility requirements.

            1355.20(a)
                                          4. Child care institution means a private child care
            472(c)(2)
                                             institution, or a public child care institution which
                                             accommodates no more than 25 children, and is
                                             licensed by the State in which it is situated or has been
                                             approved by the agency of such State or tribal licensing
                                             authority (with respect to child care institutions on or
                                             near Indian reservations) responsible for licensing or
                                             approval of institutions of this type as meeting the
                                             standards established for such licensing. This definition
                                             must not include detention facilities, forestry camps,
                                             training schools, or any other facility operated primarily
                                             for the detention of children who are determined to be
                                             delinquent.




7 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007         Page 9 of 31

            472(i)(1)
                                          5. Administrative costs associated with an otherwise
                                             eligible child who is in an unallowable facility or an
                                             unapproved or unlicensed relative home, and who is
                                             removed in accordance with section 472(a) from the
                                             home of a relative specified in section 406(a)(as in
                                             effect on July 16, 1996), shall be considered only for
                                             expenditures:

            472(i)(1)(A)                  a. for a period of not more than the lesser of 12 months or
                                          the average length of time it takes for the State to license
                                          or approve a home as a foster home, in which the child is
                                          in the home of a relative and an application is pending for
                                          licensing or approval of the home as a foster family home;
                                          or

            472(i)(I)(B)                  b. for a period of not more than 1 calendar month when a
                                          child moves from a facility not eligible for payments under
                                          this part into a foster family home or child care institution
                                          licensed or approved by the State.

            472(i)(2)
                                          6. Administrative costs associated with a child who is
                                             potentially eligible for benefits under the State's
                                             approved Title IV-E state plan and at imminent risk of
                                             removal from the home, shall be considered for
                                             expenditures only if:

            472(i)(2)(A)                  a. reasonable efforts are being made in accordance with
                                          section 471(a)(15) to prevent the need for, or if necessary
                                          to pursue, removal of the child from the home; and

            472(i)(2)(B)                  b. the State agency has made, not less often than every 6
                                          months, a determination (or redetermination) as to
                                          whether the child remains at imminent risk of removal
                                          from the home.

            1356.21(j)
                                          7. Child of a minor parent in foster care. Foster care
            475(4)(B)
                                             maintenance payments made on behalf of a child
                                             placed in a foster family home or child care institution,
                                             who is the parent of a son or daughter in the same
                                             home or institution, must include amounts which are
                                             necessary to cover costs incurred on behalf of the
                                             child's son or daughter. Said costs must be limited to
                                             funds expended on those items described in the
                                             definition of foster care maintenance payments.

            1356.21(g)                 D. CASE REVIEW SYSTEM

                                          1. Case Plan
                                       To meet the case plan requirements of sections 471(a)(16),
                                       475(1) and 475(5)(A) and (D) of the Act, the State agency
                                       has promulgated policy materials and instructions for use by
                                       State and local staff to determine the appropriateness of and
                                       necessity for the foster care placement -of the child. The
                                       case plan for each child:




8 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 10 of 31

            1356.21(g)(1)                 a. is a written document which is a discrete part of the
                                          case record, in a format determined by the State, which is
                                          developed jointly with the parent(s) or guardian(s) of the
                                          child in foster care; and

            1356.(g)(2)                   b. is developed within a reasonable period, to be
                                          established by the State, but in no event later than 60
                                          days from the child's removal from the home; and

            1356.21(g)(4)                 c. includes a description of the services offered and
                                          provided to prevent removal of the child from the home
                                          and to reunify the family; and

            475(1)(A)                     d. includes a description of the type of home or institution
                                          in which the child is placed; and

            475(1)(A)                     e. includes a discussion of the safety and appropriateness
                                          of the placement and how the responsible agency plans to
                                          carry out the judicial determination made with respect to
                                          the child in accordance with section 472(a)(2)(A) of the
                                          Act; and

            475(1)(B)                     f. includes a plan for assuring that the child receives safe
                                          and proper care, and services are provided to the
                                          parent(s) in order to improve the conditions in the
                                          parent's (parents') home to facilitate the child's return to
                                          his/her own safe home or the permanent placement of the
                                          child; and

            475(1)(B)                     g. includes a plan for assuring that services are provided
                                          to the child and foster parents in order to address the
                                          needs of the child while in foster care; and

            475(1)(B)                     h. includes a discussion of the appropriateness of the
                                          services that have been provided to the child under the
                                          plan; and

            475(1)(D)                     i. where appropriate for a child 16 or over, includes a
                                          written description of the programs and services which will
                                          help such child prepare for the transition from foster care
                                          to independent living; and

            1356.21(g)(5)                 j. documents the steps to finalize a placement when the
            475(1)(E)                     case plan goal is or becomes adoption or placement in
                                          another permanent home in accordance with sections
                                          475(1)(E) and (5)(E) of the Act. When the case plan goal
                                          is adoption, at a minimum such documentation shall
                                          include child-specific recruitment efforts such as the use of
                                          State, regional, and national adoption exchanges including
                                          electronic exchange systems to facilitate orderly and
                                          timely in-State and interstate placements; and

            1356.21(g)(3)                 k. includes a discussion of how the case plan is designed
            475(5)(A)                     to achieve a safe placement for the child in the least
                                          restrictive (most family-like) setting available and in close
                                          proximity to the home of the parent(s) when the case plan
                                          goal is reunification and a discussion of how the placement
                                          is consistent with the best interests and special needs of



9 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print    http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6       Filed 11/02/2007          Page 11 of 31

                                          the child; and

            475(5)(A)(i)                  l. if the child has been placed in a foster family home or
                                          child-care institution a substantial distance from the home
                                          of the parent(s), or in a different State, sets forth the
                                          reasons why such a placement is in the best interests of
                                          the child; and

            475(5)(A)(ii)                 m. if the child has been placed in foster care in a State
                                          outside the State in which the child's parent(s) are
                                          located, assures that an agency caseworker on the staff of
                                          the State agency of the State in which the home of the
                                          parents of the child is located, of the State in which the
                                          child has been placed, or of a private agency under
                                          contract with either such State, visits the child in such
                                          foster home or institution no less frequently than every 6
                                          months and submits a report on the visit to the State
                                          agency of the State where the home of the child's
                                          parent(s) is located; and

            475(1)(C)                     n. incorporates the health and education records of the
                                          child including the most recent information available
                                          regarding:

                                          1. the names and addresses of the child's health and
                                             educational providers;
                                          2. the child's grade level performance;
                                          3. the child's school record;
                                          4. assurances that the child's placement in foster care
                                             takes into account the proximity to the school in which
                                             the child is enrolled at the time of placement;
                                          5. a record of the child's immunizations;
                                          6. the child's known medical problems;
                                          7. the child's medications; and
                                          8. any other relevant health and education information
                                             concerning the child determined to be appropriate by
                                             the State agency.

            1356.21(f)
                                          2. Case Review

                                             The State Agency has a case review system which
                                             meets the requirements of sections 475(5) and 475(6)
                                             of the Act and assures that:

            475(5)(B)                     a. a review of each child's status is made no less
                                          frequently than once every six months either by a court or
                                          by an administrative review to:
                                          1. determine the safety of the child, the continuing need
                                             for and appropriateness of the placement,
                                          2. determine the extent of compliance with the case plan,
                                          3. determine the extent of progress made toward
                                             alleviating or mitigating the causes necessitating the
                                             placement, and
                                          4. project a likely date by which the child may be returned
                                             and safely maintained at home or placed for adoption
                                             or legal guardianship.




10 of 30                                                                                                                11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 12 of 31

            475(6)                        b. if an administrative review is conducted, the following
                                          requirements will be met:

                                          1. the review will be open to the participation of the
                                             parents of the child, and
                                          2. the review will be conducted by a panel of appropriate
                                             persons, at least one of whom is not responsible for the
                                             case management of, or delivery of services to either
                                             the child or the parents who are the subject of the
                                             review.

            1356.21(h)
                                          3. Permanency Hearing
            475(5)(C)
                                                a. To meet the requirements of the permanency
                                                   hearing, the State holds permanency hearings for
                                                   all children under the responsibility for placement
                                                   and care of the Title IV-E/IV-B State Agency,
                                                   including children for whom the State claims
                                                   Federal reimbursement for the costs of voluntary
                                                   foster care maintenance payments.

            1356.21(h)                    b. The permanency hearing takes place within 12 months
            475(5)(C)                     of the date the child is considered to have entered foster
                                          care (as defined within the meaning of 475(5)(F)) and not
                                          less frequently than every 12 months thereafter during the
                                          continuation of foster care.

            1356.21(h)(2)                 c. When a court determines that reasonable efforts to
            471(a)(15)(E)(i)              return the child home are not required, a permanency
                                          hearing is held within 30 days of that determination,
                                          unless the requirements of the permanency hearing are
                                          fulfilled at the hearing in which the court determines that
                                          reasonable efforts to reunify the child and family are not
                                          required.

            1356.21(b)(3)                 d. For the purposes of this requirement, a permanency
            475(5)(C)                     hearing shall determine:
            471(1)(15)(E)(i)
                                          1. the permanency plan for the child that includes
                                             whether, and if applicable when, the child will be
                                             returned to the parent, or placed for adoption and the
                                             State will file a petition for termination of parental
                                             rights, or referred to legal guardianship, or (in cases
                                             where the State agency has documented to the State
                                             court a compelling reason for determining that it would
                                             not be in the best interest of the child to return home,
                                             be referred for termination of parental rights, or be
                                             placed for adoption, with a fit and willing relative, or
                                             with a legal guardian) placed in another planned
                                             permanent living arrangement;
                                          2. in the case of a child who will not be returned to the
                                             parent, the hearing shall consider in-State and
                                             out-of-State placement options,
                                          3. in the case of a child placed out of the State in which
                                             the home of the parent(s) of the child is located, the
                                             hearing shall determine whether the out-of State
                                             placement continues to be appropriate and in the best
                                             interests of the child, and,
                                          4. in the case of a child who has attained age 16, the
                                             services needed to assist the child to make the



11 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 13 of 31

                                             transition from foster care to independent living.
                                          5. in any permanency hearing held with respect to the
                                             child, including any hearing regarding the transition of
                                             the child from foster care to independent living,
                                             procedural safeguards shall be applied to assure the
                                             court or administrative body conducting the hearing
                                             consults, in an age-appropriate manner, with the child
                                             regarding the proposed permanency or transition plane
                                             for the child.

            475(5)(C)                     e. Procedural safeguards are also to be applied with
                                          respect to parental rights pertaining to the removal of the
                                          child from the home of his/her parents, to a change in the
                                          child's placement, and to any determination affecting
                                          visitation privileges of parents.

            1356.21(h)(3)                 f. If the State concludes, after considering reunification,
                                          adoption, legal guardianship, or permanent placement
                                          with a fit and willing relative, that the most appropriate
                                          permanency plan for a child is placement in another
                                          planned permanent living arrangement, the State will
                                          document to the court the compelling reason for the
                                          alternate plan.

            1356.21(h)(4)                 g. When an administrative body, appointed or approved by
                                          the court, conducts the permanency hearing, the
                                          procedural safeguards set forth in the definition of
                                          permanency hearing will be extended by the
                                          administrative body.

            475(5)(D)
                                          4. Health and Education Records
                                                a. A child's health and education records are
                                                   reviewed and updated, and a copy of the record is
                                                   supplied to the foster parent or foster care
                                                   provider with whom the child is placed, at the
                                                   time of each placement of the child in foster care.
                                                b. The child's health and education records are
                                                   supplied to the child at no cost at the time the
                                                   child leaves foster care if the child is leaving
                                                   foster care by reason of having attained the age
                                                   of majority under State law.

            1356.21(o)
                                          5. Notice
            475(5)(G)
                                             The State provides the foster parent(s) of a child and
                                             any pre-adoptive parent or relative providing care for
                                             the child with timely notice of and a right to be heard in
                                             any proceeding to be held with respect to the child
                                             during the time the child is in the care of such foster
                                             parent, pre-adoptive parent, or relative caregiver.
                                             Notice of and a right to be heard does not require the
                                             State to make the caregiver a party to the proceeding.

            472(h)(1)                  E. MEDICAL AND SOCIAL SERVICES
            473(b)(1)(b)(2)
                                       For purposes of Titles XIX and XX, any child with respect to
                                       whom foster care maintenance payments are made under
                                       this section will be deemed a dependent child as defined in



12 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 14 of 31

                                       section 406 of the Act (as so in effect 7/16/1996) and shall
                                       be deemed to be a recipient of aid to families with dependent
                                       children under Part A of this Title (as so in effect 7/16/1996).
                                       Titles XIX and XX services will be available to such child in
                                       the State in which the child resides.

            1356.21(h)                 F. SPECIFIC GOALS IN STATE LAW
            471(a)(14)
                                          1. The State agency formulates for each fiscal year,
                                             commencing with the fiscal year which begins October
                                             1, 1983, a specific goal as to the maximum number of
                                             children (in absolute numbers or as a percentage of all
                                             children in foster care receiving assistance under a
                                             State Title IV-E program) who at any given time during
                                             the fiscal year will have been in foster care for over 24
                                             months. The specific foster care goals required under
                                             section 471(a)(14) of the Act are incorporated into
                                             State law by statute or administrative regulation with
                                             the force of law.

                                          2. The State agency will describe the steps that will be
                                             taken to achieve the specific goal established.

                                          3. The specific goal for the first fiscal year will be
                                             established by the State in law on or before October 1,
                                             1982.

            1356.21(b)                 G. PREVENTIVE AND REUNIFICATION SERVICES
            471(a)(15)(A)&(B)
                                          1. Reasonable efforts. The State makes reasonable efforts
                                             to maintain the family unit and prevent the
                                             unnecessary removal of a child from his/her home, as
                                             long as the child's safety is assured; to effect the safe
                                             reunification of the child and family (if temporary
                                             out-of-home placement is necessary to ensure the
                                             immediate safety of the child); and to make and finalize
                                             alternate permanency plans in a timely manner when
                                             reunification is not appropriate or possible. In
                                             determining reasonable efforts to be made with respect
                                             to a child and in making such reasonable efforts, the
                                             child's health and safety is the State's paramount
                                             concern.

            471(a)(15)(C)
                                          2. If continuation of reasonable efforts as described in
                                             section 471(a)(15)(B) of the Act is determined to be
                                             inconsistent with the permanency plan for the child,
                                             reasonable efforts are made to place the child in a
                                             timely manner in accordance with the permanency plan
                                             including, if appropriate, through an interstate
                                             placement, and to complete whatever steps are
                                             necessary to finalize the permanent placement of the
                                             child.

            1356.21(b)(1)(I)&(ii)
                                          3. Judicial determination of reasonable efforts to prevent a
                                             child's removal from the home.
                                                a. When a child is removed from his/her home, the
                                                   judicial determination, as to whether reasonable
                                                   efforts were made or were not required to prevent
                                                   the removal, is made no later than 60 days from



13 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print      http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6         Filed 11/02/2007          Page 15 of 31

                                                   the date the child is removed from the home.
                                                b. If the determination concerning reasonable efforts
                                                   to prevent the removal is not made as specified
                                                   above, the child is not eligible under the Title IV-E
                                                   foster care maintenance payments program for
                                                   the duration of that stay in foster care.

            1356.21(b)(2)(i)
                                          4. Judicial determination of reasonable efforts to finalize a
                                             permanency plan.
                                                a. The State agency obtains a judicial determination
                                                   that it has made reasonable efforts to finalize the
                                                   permanency plan that is in effect (whether the
                                                   plan is reunification, adoption, legal guardianship,
                                                   placement with a fit and willing relative, or
                                                   placement in another planned permanent living
                                                   arrangement) within 12 months of the date the
                                                   child is considered to have entered foster care in
                                                   accordance with the definition at section 1355.20
                                                   of the regulations, and at least once every 12
                                                   months thereafter while the child is in foster care.

            1356.21(b)(2)(ii)             b. If such a judicial determination regarding reasonable
                                          efforts to finalize a permanency plan is not made, the child
                                          becomes ineligible under Title IV-E from the end of the
                                          12th month following the date the child is considered to
                                          have entered foster care or the end of the 12th month
                                          following the month in which the most recent judicial
                                          determination of reasonable efforts to finalize a
                                          permanency plan was made, and remains ineligible until
                                          such a judicial determination is made.

            1356.21(b)(3)
                                          5. Circumstances in which reasonable efforts are not
            471(a)(15)(D)
                                             required to prevent a child's removal from home or to
                                             reunify the child and family. Reasonable efforts to
                                             prevent a child's removal from home or to reunify the
                                             child and family are not required if the State agency
                                             obtains a judicial determination that such efforts are
                                             not required because:

            1356.21(b)(3)(I)              a. A court of competent jurisdiction has determined that
            471(a)(15)(D)                 the parent has subjected the child to aggravated
                                          circumstances (as defined in State law, which definition
                                          may include but need not be limited to abandonment,
                                          torture, chronic abuse, and sexual abuse);

            1356.21(b)(3)(ii)             b. A court of competent jurisdiction has determined that
            471(a)(15)(D)                 the parent has been convicted of:

                                          1. murder (which would have been an offense under
                                             section 1111(a) of Title 18, United States Code, if the
                                             offense had occurred in the special maritime or
                                             territorial jurisdiction of the United States) of another
                                             child of the parent;
                                          2. voluntary manslaughter (which would have been an
                                             offense under section 1112(a) of Title 18, United States
                                             Code, if the offense had occurred in the special
                                             maritime or territorial jurisdiction of the United States)
                                             of another child of the parent;



14 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 16 of 31

                                          3. aiding or abetting, attempting, conspiring, or soliciting
                                             to commit such a murder or such a voluntary
                                             manslaughter; or
                                          4. a felony assault that results in serious bodily injury to
                                             the child or another child of the parent; or,

            1356.21(b)(3)(iii)            c. The parental rights of the parent with respect to a
            471(a)(15)(D)                 sibling have been terminated involuntarily.

            1356.21(b)(4)
                                          6. Concurrent planning.
            471(a)(15)(F)
                                                1. Reasonable efforts to finalize an alternate
                                                   permanency plan may be made concurrently with
                                                   reasonable efforts to reunify the child and family.
                                                2. Reasonable efforts to place a child for adoption or
                                                   with a legal guardian, including identifying
                                                   appropriate in-State and out-of-state placements,
                                                   may be made concurrently with reasonable efforts
                                                   to reunify the child and family.

            1356.21(b)(5)
                                          7. Use of the Federal Parent Locator Service.

                                             The State agency may seek the services of the Federal
                                             Parent Locator Service to search for absent parents at
                                             any point in order to facilitate a permanency plan.

            1356.21(i)(1)              H. TERMINATION OF PARENTAL RIGHTS

                                          1. The State will file a petition (or, if such a petition has
                                             been filed by another party, seek to be joined as a
                                             party to the petition) to terminate the parental rights of
                                             a parent(s):

            1356.21(i)(1)(i)              a. whose child has been in foster care under the
            475(5)(F)                     responsibility of the State for 15 of the most recent 22
                                          months. The petition must be filed by the end of the
                                          child's 15th month in foster care. In calculating when to
                                          file a petition for termination of parental rights, the State:

                                          1. will calculate the 15 out of the most recent 22 month
                                             period from the date the child entered foster care as
                                             defined at section 475(5)(F) of the Act;
                                          2. will use a cumulative method of calculation when a
                                             child experiences multiple exits from and entries into
                                             foster care during the 22 month period;
                                          3. will not include trial home visits or runaway episodes in
                                             calculating 15 months in foster care; and,
                                          4. only applies section 475(5)(E) of the Act to a child once
                                             if the State does not file a petition because one of the
                                             exceptions applies;

            1356.21(i)(1)(ii)             b. whose child has been determined by a court of
                                          competent jurisdiction to be an abandoned infant (as
                                          defined under State law). The petition to terminate
                                          parental rights is made within 60 days of the judicial
                                          determination that the child is an abandoned infant; or,




15 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print      http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6         Filed 11/02/2007          Page 17 of 31

            1356.21(i)(1)(iii)            c. who has been convicted of one of the felonies listed
                                          above. Under such circumstances, the petition to
                                          terminate parental rights is to be made within 60 days of a
                                          judicial determination that reasonable efforts to reunify
                                          the child and parent are not required.

            1356.21(i)(2)
                                          2. The State may elect not to file or join a petition to
                                             terminate the parental rights of a parent of this section
                                             if:
                                                a. at the option of the State, the child is being cared
                                                   for by a relative;
                                                b. the State agency has documented in the case plan
                                                   (which must be available for court review) a
                                                   compelling reason for determining that filing such
                                                   a petition would not be in the best interests of the
                                                   individual child;
                                                c. the State agency has not provided to the family,
                                                   consistent with the time period in the case plan,
                                                   services that the State deems necessary for the
                                                   safe return of the child to the home, when
                                                   reasonable efforts to reunify the family are
                                                   required.

            1356.21(i)(3)
                                          3. When the State files or joins a petition to terminate
                                             parental rights, it concurrently begins to identify,
                                             recruit, process, and approve a qualified adoptive
                                             family for the child.

            1355.20(a)                 I. DATE CHILD CONSIDERED TO HAVE ENTERED FOSTER
            475(5)(F)                  CARE
                                       A child will be considered to have entered foster care on the
                                       earlier of:
                                          1. the date of the first judicial finding that the child has
                                             been subjected to child abuse or neglect; or

                                          2. the date that is 60 days after the date on which the
                                             child is removed from the home.

            1356.21(d)                 J. DOCUMENTATION OF JUDICIAL DETERMINATION

                                       The judicial determinations regarding contrary to the welfare,
                                       reasonable efforts to prevent removal, and reasonable efforts
                                       to finalize the permanency plan in effect, including judicial
                                       determinations that reasonable efforts are not required, are
                                       explicitly documented and made on a case-by-case basis and
                                       so stated in the court order.

                                          1. If the reasonable efforts and contrary to the welfare
                                             judicial determinations are not included as required in
                                             the court orders, a transcript of the court proceedings is
                                             the only other documentation accepted to verify that
                                             these required determinations have been made.

                                          2. Neither affidavits nor nunc pro tunc orders will be
                                             accepted as verification documentation in support of
                                             reasonable efforts and contrary to the welfare judicial
                                             determinations.




16 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print       http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6          Filed 11/02/2007          Page 18 of 31


                                          3. Court orders that reference State law to substantiate
                                             judicial determinations are not acceptable, even if State
                                             law provides that a removal must be based on a judicial
                                             determination that remaining in the home would be
                                             contrary to the child's welfare or that removal can only
                                             be ordered after reasonable efforts have been made

            1356.21(e)                 K. TRIAL HOME VISITS

                                       A trial home visit may not exceed six months in duration,
                                       unless the court orders a longer trial home visit. If a trial
                                       home visit extends beyond six months and has not been
                                       authorized by the court, or exceeds the time period the court
                                       has deemed appropriate, and the child is subsequently
                                       returned to foster care, that placement must then be
                                       considered a new placement and Title IV-E eligibility must be
                                       newly established. Under these circumstances, the judicial
                                       determinations regarding contrary to the welfare and
                                       reasonable efforts to prevent removal are required.

            471(a)(24)                 L. TRAINING

                                       Before a child in foster care is placed with prospective foster
                                       parents, the prospective foster parents are adequately
                                       prepared with the appropriate knowledge and skills to
                                       provide for the needs of the child. As necessary, such
                                       preparation is continued after placement of the child.


                                                                                                                        back to top



                                                                                                                   State
                                                                                                               Regulatory,
                  Federal
                                                                                                              Statutory, and
                Regulatory/
                                                                   Requirement                                    Policy
                 Statutory
                                                                                                               References
                References
                                                                                                              and Citations
                                                                                                                 for Each
                                           SECTION 3. ADOPTION ASSISTANCE PAYMENTS

            473(a)(1)(A)              A. ELIGIBILITY
            473(c)
                                        1. Adoption assistance payments may be made to parents
                                           who adopt a child with special needs. A child will not be
                                           considered a child with special needs unless:

            473(c)(1)                    a. the State has determined the child cannot or should not
                                         be returned to the home of his or her parents;

            473(c)(2)(A)                 b. the State has first determined that a specific factor or
                                         condition exists with respect to the child (such as ethnic
                                         background, age, or membership in a minority or sibling
                                         group, or the presence of factors such as medical
                                         conditions or physical, mental or emotional disabilities)
                                         because of which it is reasonable to conclude that such
                                         child cannot be placed for adoption without providing
                                         adoption assistance or medical assistance under Title XIX;



17 of 30                                                                                                                   11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 19 of 31

                                         and

            473(c)(2)(B)                 c. a reasonable, but unsuccessful, effort has been made to
                                         place the child without providing assistance except where it
                                         would be against the best interests of the child due to such
                                         factors as the existence of significant emotional ties with
                                         prospective adoptive parents while in the care of such
                                         parents as a foster child.

            473(a)(1)(B)
                                        2. Adoption assistance payments are made to adoptive
                                           parents who have entered into an adoption assistance
                                           agreement (see subsection C of this plan) with the State
                                           agency.

            473(a)(2)(A)
                                        3. Adoption assistance payments are made with respect to
                                           an adoptive child who:

            473(a)(2)(A)(i)(I)           a. was removed from the home of a relative specified in
                                         section 406(a) of the Act (as in effect on July 16, 1996)
                                         and placed in foster care in accordance with a voluntary
                                         placement agreement as provided under section 474 (or
                                         section 403, as in effect on July 16, 1996), or in
                                         accordance with a judicial determination to the effect that
                                         continuation in the home would be contrary to the welfare
                                         of the child; and

                                        1. received AFDC, in that relative's home, under the State
                                           plan approved under section 402 of the Act (as in effect
                                           7/16/96), or would have received AFDC under such plan
                                           had application been made, in or for the month the
                                           voluntary placement agreement was entered into or
                                           court proceedings leading to the judicial determination
                                           referred to in section 473(a)(2)(A)(i) were initiated; or
                                        2. had been living with a relative specified in section
                                           406(a) of the Act within six months before the month in
                                           which a voluntary placement agreement was entered
                                           into or court proceedings leading to the judicial
                                           determination referred to in section 473(a)(2)(A)(i),
                                           were initiated and would have received AFDC in that
                                           relative's home under the State plan approved under
                                           section 402 of the Act for that month, if in that month
                                           the child had been living with such relative and
                                           application had been made.

            473(a)(2)(A)(i)(II)          b. meets all the requirements of Title XVI of the Act with
                                         respect to eligibility for supplemental security income
                                         benefits; or

            473(a)(2)(A)(i)(III)         c. is a child whose costs in a foster family home or
                                         child-care institution are covered by the foster care
                                         maintenance payments being made with respect to the
                                         minor parent of the child as provided in section 475(4)(B);
                                         and,

            473(a)(2)(A)(ii)             d. has been determined by the State pursuant to section
                                         473(c) to be a child with special needs.




18 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 20 of 31

            473(a)(2)(B)              e. meets the requirements of section 472(a)(4) of the Act in
                                      any case in which the child is an alien as described in such
                                      section of the Act.
            473(a)(2)(C)
                                        4. Any child who meets the following requirements will be
                                           treated as meeting the requirements to receive adoption
                                           assistance payments:
                                               a. meets the requirements of section
                                                  473(a)(2)(A)(ii);
                                               b. is determined eligible for adoption assistance
                                                  payments under 473 of the Act with respect to a
                                                  prior adoption;
                                               c. is available for adoption because the prior
                                                  adoption has been dissolved and the parental
                                                  rights of the adoptive parents have been
                                                  terminated or because the child's adoptive parents
                                                  have died; and
                                               d. fails to meet the requirements of section
                                                  473(a)(2)(A)(i) but will meet such requirements if
                                                  the child is treated as if the child is in the same
                                                  financial and other circumstances the child was in
                                                  the last time the child was determined eligible for
                                                  adoption assistance payments under section 473
                                                  of the Act and the prior adoption is treated as
                                                  never having occurred.

            473(a)(1)(B)(i)           B. PAYMENTS – AMOUNTS AND CONDITIONS

                                        1. Payments will be made for non-recurring adoption
                                           expenses incurred by or on behalf of the adoptive
                                           parents in connection with the adoption of a child with
                                           special needs, directly through the State agency or
                                           through another public or nonprofit private agency, in
                                           amounts determined through an agreement with the
                                           adoptive parents, and

            473(a)(1)(B)(ii)
                                        2. In any case where the child meets the requirements of
                                           section 473(a)(2) of the Act, the State may make
                                           adoption assistance payments to adoptive parents,
                                           directly through the State agency or through another
                                           public or nonprofit private agency, in amounts so
                                           determined through an adoption assistance agreement
                                           (see Section 3, item C of this plan).

            473(a)(3)
                                        3. The amount of such payment:
                                               a. will take into consideration the circumstances of
                                                  the adopting parents and the needs of the child
                                                  being adopted;
                                               b. may be adjusted periodically with the concurrence
                                                  of the adoptive parents to reflect changing
                                                  circumstances; and
                                               c. may not exceed the foster care maintenance
                                                  payment which would have been paid during the
                                                  period if the child with respect to whom the
                                                  adoption assistance payment is made had been in
                                                  a foster family home.




19 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print       http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6          Filed 11/02/2007          Page 21 of 31

            1356.40(d)
                                        4. In determining eligibility for adoption assistance
                                           payments, there is no income eligibility requirement
                                           (means test) for the adoptive parents.

            473(a)(4)
                                        5. Payments are terminated when the State determines
                                           that:
                                               a. the child has attained the age of 18 (or, where the
                                                  State determines that the child has a mental or
                                                  physical disability which warrants the continuation
                                                  of assistance, the age of 21), or
                                               b. the parents are no longer legally responsible for
                                                  the support of the child, or
                                               c. the child is no longer receiving support from the
                                                  adoptive parents.

            473(a)(4)
                                        6. The adoptive parents are required to inform the State
                                           agency of circumstances that would make them
                                           ineligible for adoption assistance payments or eligible
                                           for adoption assistance payments in a different amount.

            475(3)                    C. ADOPTION ASSISTANCE AGREEMENT

                                        1. An adoption assistance agreement is a written
                                           agreement, binding on all parties, between the State
                                           agency, other relevant agencies, and the prospective
                                           adoptive parents.

            1356.40(b)
                                        2. The adoption assistance agreement meets the
                                           requirements of section 475(3) of the Act as stated
                                           below:

            1356.40(b)(1)                a. is signed by the adoptive parents and a representative
                                         of the State agency and is in effect before adoption
                                         assistance payments are made under Title IV-E, but no
                                         later than the finalization of the adoption;

            1356.40(b)(2)                b. specifies the duration of the agreement;
            475(3)

            1356.40(b)(3)                c. specifies the amount of the adoption assistance
                                         payments (if any) and the nature and amount of any other
                                         payments, services and assistance to be provided
                                         (including non-recurring adoption expenses in agreements
                                         that became effective on or after January 1, 1987, for
                                         expenditures incurred by the parents on or after that
                                         date);

            473(b)                       d. specifies the child's eligibility for Title XIX and Title XX;

            475(3)(B)                    e. specifies, with respect to agreements entered into on or
                                         after October 1, 1983, that the agreement remains in
                                         effect regardless of the State of residence of the adoptive
                                         parents;




20 of 30                                                                                                                   11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print      http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6         Filed 11/02/2007          Page 22 of 31

            475(3)                       f. contains provisions for the protection of the interests of
                                         the child in case the adoptive parents and child should
                                         move to another State while the agreement is in effect;
                                         and

            1356.40(d)                   g. for agreements entered into on or after October 1,
                                         1983, if a needed service specified in the agreement is not
                                         available in the new State of residence, the State making
                                         the original adoption assistance payment remains
                                         financially responsible for providing the specified
                                         service(s).

            473(b)(1-4)               D. MEDICAID AND SOCIAL SERVICES

                                        1. For the purposes of Titles XIX and XX, any eligible child
                                           for whom there is an adoption assistance agreement in
                                           effect under section 473(a)(2) (whether or not adoption
                                           assistance payments are being made) is deemed to be a
                                           dependent child as defined in 406 of the Act and is
                                           deemed to be a recipient of AFDC under part A of Title
                                           IV of the Act (as in effect 7/16/96) in the State in which
                                           such child resides. Any child of such eligible child will be
                                           eligible for such services.

            471(a)(21)(A)&(B)
                                        2. The State will provide health insurance coverage
                                           (through one or more State medical assistance
                                           programs), with the same type and kind of benefits as
                                           those which would be provided for children by the State
                                           under Title XIX, or a comparable State medical plan, for
                                           any child who has been determined to be a child with
                                           special needs, for whom there is in effect an adoption
                                           assistance agreement between the State and an
                                           adoptive parent or parents, and who the State has
                                           determined cannot be placed with an adoptive parent or
                                           parents without medical assistance due to special needs
                                           for medical, mental health or rehabilitative care.

            471(a)(21)(C)&(D)
                                        3. In the event that the State provides such coverage
                                           through a State medical assistance program other than
                                           the program under Title XIX, and the State exceeds its
                                           funding for services under such other program, any
                                           such child is deemed to be receiving aid or assistance
                                           under the State plan under this part for purposes of
                                           section 1902(a)(10)(a)(i)(1); and in determining
                                           cost-sharing requirements, the State will take into
                                           consideration the circumstances of the adopting parent
                                           or parents and the needs of the child being adopted to
                                           the extent coverage is provided through a State medical
                                           assistance program, consistent with the rules under
                                           such program.

            473A(b)                   E. ELIGIBILITY FOR ADOPTION INCENTIVE FUNDING
                                      To be eligible for adoption incentive funds in FY's 2001
                                      through 2007, the State provides health insurance coverage
                                      to any child with special needs (as determined under section
                                      473(c)) for whom there is in effect an adoption assistance
                                      agreement.




21 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print       http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6          Filed 11/02/2007          Page 23 of 31

                                                                                                                        back to top



                                                                                                                    State
                                                                                                                Regulatory,
                  Federal
                                                                                                               Statutory, and
                Regulatory/
                                                                   Requirement                                     Policy
                 Statutory
                                                                                                                References
                References
                                                                                                               and Citations
                                                                                                                  for Each
                                          SECTION 4. GENERAL PROGRAM REQUIREMENTS

            471(a)(10)               A. STANDARDS FOR FOSTER FAMILY HOMES AND CHILD CARE
                                     INSTITUTIONS

                                     The State agency has established or designated a State
                                     authority(ies) which is responsible for establishing and
                                     maintaining standards for foster family homes and child care
                                     institutions which are reasonably in accord with recommended
                                     standards of national organizations concerned with standards
                                     for such institutions or homes, including standards related to
                                     admission policies, safety, sanitation, and protection of civil
                                     rights. The standards so established are applied by the State
                                     to any foster family home or child-care institution receiving
                                     funds under Titles IV-E or IV-B.

            1356.21(m)(1)&(2)        B. REVIEW OF PAYMENTS AND LICENSING STANDARDS
            471(a)(11)
                                     The State agency reviews at reasonable, specific, time-limited
                                     periods established by the State:

                                        1. the amount of the payment made for foster care
                                           maintenance and adoption assistance to assure their
                                           continued appropriateness; and

                                        2. the licensing or approval standards for child care
                                           institutions and foster family homes.

            471(a)(12)               C. FAIR HEARINGS
                                     The State agency has a system for granting an opportunity for
                                     a fair hearing (before the State agency) to any individual
                                     whose claim for benefits under this plan is denied or not acted
                                     upon with reasonable promptness.

            471(a)(13)               D. INDEPENDENT AUDIT

                                     The State Agency will arrange for a periodic and independently
                                     conducted audit, no less frequently than once every three
                                     years, of the Titles IV-E and IV-B programs.

            471(a)(9)                E. CHILD ABUSE AND NEGLECT

                                     The State agency will report to an appropriate agency or
                                     official known or suspected instances of physical or mental
                                     injury, sexual abuse or exploitation, or negligent treatment or
                                     maltreatment of a child receiving aid under Titles IV-B or IV-E
                                     under circumstances that indicate that the child's health or
                                     welfare is threatened.




22 of 30                                                                                                                   11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 24 of 31

            471(a)(25)&(26)          F. TIMELY INTERSTATE PLACEMENT OF CHILDREN

                                        1. The State shall have in effect procedures for the orderly
                                           and timely interstate placement of children which
                                           provides that:
                                              a. Within 60 days after the State receives from
                                                 another state a request to conduct a study of a
                                                 home environment for purposes of assessing the
                                                 safety and suitability of placing a child in the home,
                                                 the State shall, directly or by contract:
                                                      i. Conduct and complete the study; and
                                                     ii. Return to the other State a report on the
                                                         results of the study which shall address the
                                                         extent to which placement in the home would
                                                         meet the needs of the child; and
                                                    iii. In the case of a home study begun on or
                                                         before September 30, 2008, if the State fails
                                                         to conduct and complete the home study
                                                         within the 60-day period as a result of
                                                         circumstances beyond the control of the State
                                                         (such as failure by a Federal agency to
                                                         provide the results of a background check, or
                                                         the failure by an entity to provide completed
                                                         medical forms, requested by the State at least
                                                         45 days before the end of the 60-day period),
                                                         the State shall have 75 days (an additional 15
                                                         days beyond the original 60 days) to comply
                                                         with the request provided the State
                                                         documents the circumstances involved and
                                                         certifies that completing the home study is in
                                                         the best interests of the child.
                                              b. The State is not required to complete within the
                                                 applicable time period the parts of the home study
                                                 involving the education and training of the
                                                 prospective foster or adoptive parents.
                                              c. The State shall treat any such report that is
                                                 received from another State or an Indian tribe (or
                                                 from a private agency under contract with another
                                                 State) as meeting any requirements imposed by
                                                 the State for the completion of a home study before
                                                 placing a child in the home, unless, within 14 days
                                                 after receipt of the report, the State determines,
                                                 based on grounds that are specific to the content of
                                                 the report, that making a decision in reliance on the
                                                 report would be contrary to the welfare of the child;
                                                 and
                                              d. The State shall not impose any restriction on the
                                                 ability of a State agency administering, or
                                                 supervising the administration of, a State program
                                                 operated under a State plan approved under this
                                                 part to contract with a private agency for the
                                                 conduct of such a home study.

            471(a)(18)(A)&(B)        G. REMOVAL OF BARRIERS TO INTERETHNIC ADOPTION

                                        1. The State has a plan, approved by the Secretary not
                                           later than January 1, 1997, which provides that neither
                                           the State nor any other entity in the State that receives
            1355.38(a)(2)(iii)             funds from the Federal Government and is involved in




23 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 25 of 31

                                           adoption or foster care placements may:
                                              a. deny to any person the opportunity to become an
                                                 adoptive or foster parent, on the basis of race,
                                                 color, or national origin of the person, or of the
                                                 child involved; or
                                              b. delay or deny the placement of a child for adoption
                                                 or into foster care, on the basis of race, color, or
                                                 national origin of the adoptive or foster parent or
                                                 the child involved; and
                                              c. with respect to a State, maintains any statute,
                                                 regulation, policy, procedure or practice that, on its
                                                 face, is a violation as defined in sections
                                                 471(a)(18)(A) and (B) above.

            1355.38(a)(5)
                                        2. Compliance with the Indian Child Welfare Act of 1978
                                           (Pub.L.95-608) does not constitute a violation of section
                                           471(a)(18).

            471(a)(19)               H. KINSHIP CARE
                                     The State considers giving preference to an adult relative over
                                     a non-related caregiver when determining a placement for a
                                     child, provided that the relative caregiver meets all relevant
                                     State child protection standards.

            1356.30(a)               I. SAFETY REQUIREMENTS
            471(a)(20)(A)
                                        1. Safety requirements for foster care and adoptive home
                                        providers.

                                        a. Unless an election provided for in paragraph (d) of this
                                           section was made, the State provides procedures for
                                           criminal records checks (including finger-print-based
                                           checks of national crime information databases (as
                                           defined in section 534(e)(3)(a) of Title 28, United States
                                           Code) for any prospective foster and adoptive parent
                                           before the parent may be finally approved for placement
                                           of a child regardless of whether foster care maintenance
                                           payments or adoption assistance payments are to be
                                           made on behalf of the child.

            1356.30(b)                  b. The State does not approve or license any prospective
            471(a)(20)(A)(i)            foster or adoptive parent, nor does the State claim FFP for
                                        any foster care maintenance or adoption assistance
                                        payment made on behalf of a child placed in a foster home
                                        operated under the auspices of a child placing agency or on
                                        behalf of a child placed in an adoptive home through a
                                        private adoption agency, if the State finds that, in any case
                                        involving a child on whose behalf such payments are to be
                                        made in which a criminal records check conducted in
                                        accordance with paragraph (a) of this section, a court of
                                        competent jurisdiction has determined that the prospective
                                        foster or adoptive parent has been convicted of a felony
                                        involving:

                                        1. Child abuse or neglect;
                                        2. Spousal abuse;
                                        3. A crime against a child or children (including child
                                           pornography); or,
                                        4. A crime involving violence, including rape, sexual



24 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print       http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6          Filed 11/02/2007          Page 26 of 31

                                           assault, or homicide, but not including other physical
                                           assault or battery.

            1356.30(c)                  c. The State does not approve or license any prospective
            471(a)(20)(A)(ii)           foster or adoptive parent, nor claim FFP for any foster care
                                        maintenance or adoption assistance payment made on
                                        behalf of a child placed in a foster family home operated
                                        under the auspices of a child placing agency or on behalf of
                                        a child placed in an adoptive home through a private
                                        adoption agency, if the State finds, in any case involving a
                                        child on whose behalf such payments are to be made in
                                        which a criminal records check conducted in accordance
                                        with paragraph (a) of this section, that a court of competent
                                        jurisdiction has determined that the prospective foster or
                                        adoptive parent has, within the last five years, been
                                        convicted of a felony involving:

                                        1. Physical assault;
                                        2. Battery; or,
                                        3. A drug-related offense.

            1356.30(d)                  d. Criminal records checks.
            471(a)(20)(B)
                                        1. The State may have elected not to conduct or require
                                           criminal records checks on prospective foster or adoptive
                                           parents by having:
                                              a. Notified the Secretary in a letter from the Governor
                                                 on or before September 30, 2005; or
                                              b. Enacted State legislation.
                                        2. Such an election removed the State's obligation to
                                           comport with paragraphs (b) and (c) of this section.

            1356.30(e)                  e. If the State opted out of the criminal records check
                                        requirement, the licensing file for that foster or adoptive
                                        family contains documentation that verifies that safety
                                        considerations with respect to the caretaker(s) have been
                                        addressed.

            1356.30(f)                  f. In order for a child care institution to be eligible for Title
                                        IV-E funding, the licensing file for the institution contains
                                        documentation which verifies that safety considerations
                                        with respect to the staff of the institution have been
                                        addressed.

            471(a)(20)(C)               g. The State shall check any child abuse and neglect
                                        registry for information on any prospective foster or
                                        adoptive parent and on any other adult living in the home
                                        of such a prospective parent for such information, before
                                        the prospective foster or adoptive parent may be finally
                                        approved for placement of a child, regardless of whether
                                        foster care maintenance payments or adoption assistance
                                        payments are to be made on behalf of the child:

                                        1. The State shall check any child abuse and neglect
                                           registry it maintains for such information.
                                        2. The State shall request any other State in which any
                                           such prospective parent or other adult has resided in the
                                           preceding 5 years, to check any child abuse and neglect
                                           registry maintained by such other State for such




25 of 30                                                                                                                   11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 27 of 31

                                           information.
                                        3. The State shall comply with any such request to check its
                                           child abuse and neglect registry that is received from
                                           another State.

            471(a)(23)(A)&(B)        J. INTERJURISDICTIONAL ADOPTIONS

                                     The State will not:

                                        1. deny or delay the placement of a child for adoption when
                                           an approved family is available outside of the jurisdiction
                                           with responsibility for handling the case of the child; or

                                        2. fail to grant an opportunity for a fair hearing, as
                                           described in section 471(a)(12), to an individual whose
                                           allegation of a violation of part (1) of this subsection is
                                           denied by the State or not acted upon by the State with
                                           reasonable promptness.

            471(a)(22)               K. QUALITY STANDARDS

                                        1. Effective January 1, 1999, the State has developed and
                                           implemented standards to ensure that children in foster
                                           care placements in public or private agencies are
                                           provided quality services that protect the safety and
                                           health of the children.

            471(a)(24)
                                        2. The State will ensure that prospective foster parents are
                                           adequately trained with the appropriate knowledge and
                                           skills to provide for the needs of the child and that such
                                           preparation will be continued after the placement.


                                                                                                                      back to top



                                                                                                                State
                                                                                                            Regulatory,
                  Federal
                                                                                                           Statutory, and
                Regulatory/
                                                               Requirement                                     Policy
                 Statutory
                                                                                                           References and
                References
                                                                                                            Citations for
                                                                                                                Each
                                                 SECTION 5. GENERAL PROVISIONS

            471(a)(5)                A. PERSONNEL ADMINISTRATION

                                       1. The State agency and the local agencies administering
                                          the Title IV-E program have established and will
                                          maintain methods of personnel administration in
                                          conformity with standards for a Merit System of
                                          Personnel Administration, prescribed in Title 5 CFR 900
                                          by the U.S. Office of Personnel Management pursuant
                                          to section 208 of the Intergovernmental Personnel Act
                                          of 1970, as amended.

                                       2. The State agency is implementing an affirmative action
                                          plan to assure equal employment opportunity in all
                                          aspects of personnel administration as specified in Title




26 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print      http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6         Filed 11/02/2007          Page 28 of 31

                                           5 CFR 900. The plan provides for specific action steps
                                           and timetables to assure such equal opportunity, and is
                                           available for review upon request.

            471(a)(8)                B. SAFEGUARDING INFORMATION

                                       1. Subject to section 471(c), the State agency has
                                          safeguards restricting use of or disclosure of
                                          information concerning individuals assisted under the
                                          State plan to purposes directly connected with:

            471(a)(8)(A)             a. the administration of the Title IV-E plan or any of the
                                     State plans or programs under Parts A, B or D of Title IV or
                                     under Titles I, V, X, XIV, XVI (as in effect in Puerto Rico,
                                     Guam, and the Virgin Islands), XIX or XX, or the
                                     supplemental security income program under Title XVI; and

            471(a)(8)(B)             b. any investigation, prosecution, or criminal or civil
                                     proceeding conducted in connection with the administration
                                     of any such plan or program; and

            471(a)(8)(C)             c. the administration of any other Federal or federally
                                     assisted program which provides assistance (in-cash or
                                     in-kind) or services directly to individuals on the basis of
                                     need; and

            471(a)(8)(D)             d. any audit or similar activity conducted in connection with
                                     the administration of any such plan or program by any
                                     governmental agency authorized by law to conduct such
                                     audit or activity.

            471(a)(8)(E)
                                       2. The safeguards provided will prohibit the disclosure to
                                          any committee or legislative body (other than an
                                          agency referred to in section 471(a)(8)(D) with respect
                                          to an activity referred to in such clause) of any
                                          information which identifies by name or address any
                                          applicant for or recipient of assistance under Title IV-E
                                          of the Act.

            471(a)(20)(C)(iii)
                                       3. The State shall have in place safeguards to prevent the
                                          unauthorized disclosure of information in any child
                                          abuse and neglect registry maintained by the State,
                                          and to prevent any such information obtained pursuant
                                          to section 471(a)(20)(C) from being used for a purpose
                                          other than the conducting of background checks in
                                          foster and adoptive placement cases.

            471(c)
                                       4. In the use of child welfare records in State Court
                                          proceedings, section 471(a)(8) of the Act shall not be
                                          construed to limit the flexibility of a State in
                                          determining State policies relating to public access to
                                          court proceedings to determine child abuse and neglect
                                          or other court hearings held pursuant to Title IV-B or
                                          Title IV-E of the Act, except that such policies shall, at
                                          a minimum, ensure the safety and well-being of the
                                          child, parents, and family.




27 of 30                                                                                                                  11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print     http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6        Filed 11/02/2007          Page 29 of 31

            471(a)(6)                C. REPORTING

                                     The State agency makes reports in such form and containing
                                     such information on the State's Title IV-E program as are
                                     required by the Secretary of the Department of Health and
                                     Human Services (HHS), and the State agency will comply
                                     with such provisions as the Secretary may from time to time
                                     find necessary to assure the correctness and verification of
                                     such reports.

            471(a)(7)                D. MONITORING

                                     The State agency monitors and conducts evaluations of
                                     activities carried out in the State's Title IV-E program.

            1355.30                  E. APPLICABILITY OF DEPARTMENT-WIDE REGULATIONS
                                     The State agency will comply with all of the requirements of
                                     applicable regulations, including the regulations listed below:

                                       1. 45 CFR Part 16 - Department Grant Appeals Process
                                       2. 45 CFR Part 30 - Federal Claims Collection
                                       3. 45 CFR Part 76 - Government Debarment and
                                          Suspension
                                       4. 45 CFR Part 80 - Nondiscrimination
                                       5. 45 CFR Part 81 - Hearings under Part 80
                                       6. 45 CFR Part 84 - Nondiscrimination on basis of
                                          handicap
                                       7. 45 CFR Part 91 - Nondiscrimination on basis of age
                                       8. 45 CFR Part 92 - Administrative requirements for
                                          grants and cooperative agreements
                                       9. 45 CFR Part 93 - New restrictions on lobbying
                                      10. 45 CFR Part 95 - General Administration - Grant
                                          Programs (Public Assistance and Medical Assistance)
                                      11. 45 CFR Part 97 - Consolidation of grants to the insular
                                          areas
                                      12. Section 95.517 (supersedes section 205.150) - Cost
                                          Allocation Plans
                                      13. Section 201.5 - Grants (except that ACYF shall supply
                                          appropriate forms and instructions)
                                      14. Section 201.6 - Withholding/Reduction of FFP
                                      15. Section 201.7 - Judicial Review
                                      16. Section 201.15 - Deferral of Claims
                                      17. Section 201.66 - Repayment of Federal Funds by
                                          Installments
                                      18. Section 204.1 - Submittal of State Plans for Governor's
                                          Review
                                      19. Section 205.5 - Plan Amendments
                                      20. Section 205.10 - Hearings
                                      21. Section 205.50 - Safeguarding Information
                                      22. Section 205.100 - Single State Agency

            1356.21(c)               F. AVAILABILITY OF STATE PLANS

                                     The State plans and plan amendments for Titles IV-E and
                                     IV-B are made available by the State agency for public
                                     review and inspection.

            1355.33(b)               G. OPPORTUNITY FOR PUBLIC INSPECTION OF REVIEW
            1355.33(e)               REPORTS AND MATERIALS
            1355.35(a)
                                     The State agency makes available for public review and



28 of 30                                                                                                                 11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print    http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                   Case 1:07-cv-00241-L-LDA             Document 37-6       Filed 11/02/2007          Page 30 of 31

                                     inspection all statewide assessments, report of findings, and
                                     program improvement plans developed as a result of a full or
                                     partial child and family services review.


                                                                                                                     back to top



                                                                                                              ATTACHMENT I
           TITLE IV-E STATE PLAN – STATE OF __________________________



                                                     CERTIFICATION

           I hereby certify that I am authorized to submit amended pages for the State Plan on behalf of

                               ________________________________________________________
                                                (Designated State Agency)

               Date___________________________________ _______________________________________
                                                                      (Signature)

                                                                   _______________________________________
                                                                                    (Title)




            APPROVAL                                                  EFFECTIVE
            DATE___________________________________ DATE:_______________________________________

                                                                    _______________________________________
                                                                     (Signature, Associate Commissioner, Children's
                                                                                        Bureau)


                                                                                                                     back to top



                                                                                                             ATTACHMENT II

           TITLE IV-E STATE PLAN – STATE OF __________________________



                                             GOVERNOR'S CERTIFICATION
                                        TITLE IV-E of the SOCIAL SECURITY ACT

                       I certify that ________________________________________________________
                                                     (Name of Agency)
              a. has the authority to submit the State plan under Title IV-E of the Social Security Act for Foster
                 Care and Adoption Assistance; and

              b. is the single State agency responsible for administering the plan or supervising the administration
                 of the plan by local political subdivisions. It has the authority to make rules and regulations
                 governing the administration of the plan that are binding on such subdivisions. The Title IV-E plan
                 is mandatory upon the subdivisions and is in effect throughout the State.




29 of 30                                                                                                                11/1/2007 12:04 PM
ACYF-CB-PI-07-02: Attachment B – Title IV-E State Plan Pre-Print    http://www.acf.hhs.gov/programs/cb/laws_policies/policy/pi/2007/pi070...
                    Case 1:07-cv-00241-L-LDA            Document 37-6       Filed 11/02/2007          Page 31 of 31

               ___________________________________                    _______________________________________
                               Date                                                  (Signature)




                                                                                                                     back to top



                                                                                                            ATTACHMENT III
           TITLE IV-E STATE PLAN – STATE OF __________________________



                                                          ASSURANCE

                I hereby assure that the State agency administering the Title IV-E programs obtained the relevant
               sections of the Title IV-A State plan (as in effect in this State on July 16, 1996) and used them as the
                basis for making Title IV-E eligibility determinations. I certify that I am authorized to submit, as an
                 appendix to this State's Title IV-E State plan, those relevant sections of the Title IV-A State plan.

                         On behalf of _______________________________________________________
                                                  (Designated State Agency)

                Date___________________________________ _______________________________________
                                                                       (Signature)

                                                                   _______________________________________
                                                                                    (Title)




            APPROVAL                                                  EFFECTIVE
            DATE___________________________________ DATE:_______________________________________

                                                                    _______________________________________
                                                                     (Signature, Associate Commissioner, Children's
                                                                                        Bureau)


                                                                                                                     back to top




           1
            Statutory references refer to the Social Security Act. Regulatory references refer to Title 45 of the
           Code of Federal Regulations (CFR). back


           Back to PI-07-02




30 of 30                                                                                                                11/1/2007 12:04 PM
